Case 2:04-cv-02771-BBD-dkv Document 143 Filed 08/11/05 Page 1 of 5 Page|D 180

 
 

IN THE UNITED sTATEs DISTRICT COURT 'N£D B‘f j{._©o.e.
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIvIsIoN 05 AUG l l PH h= 21¢
HlOMAS H.GUJLD
CLEHK HS f"'“*W?TGOlM
ln re COPPER TUBING LITIGATION W/’D GF _ zi;PHiS

 

Master File No. 04-277l-DV
This Document Relates To:

District Judge Bernice B. Donald

Magistrate Judge Diane K. Vescovo
All Actions

ORDER GRANTING UNOPPOSED MOTION OF DEFENDANTS
MUELLER EUROPE LTD., BOLIDEN AB, BOLIDEN FABRICATION AB,
BOLIDEN CUIVRE & ;INC §.A., IMI PLC, IMI KYNOCH LTD., YORKSHIRE
COPPER TUBE LTD., TREFIMETAUX SA, EUROPA METALLI SPA, OUTOKUMPU
OYJ AND OUTOKUMPU COPPER PRODUCTS OY F()R LEAVE TO FILE
REPLY BRIEFS IN SUPPORT OF THEIR MOTIONS TO DISMISS THE
CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
The Cou.rt having considered the Unopposed Motion of Defendants Mueller Europe Ltd.,
Boliden AB, Boliden Fabrication AB, Boliden Cuivre & Zinc S.A., IMI plc, IMI Kynoch Ltd.,
Yorkshire Copper Tube Ltd., Tréfirne'taux S.A., Europa Metalli SPA, Outokumpu Oyj and
Outokumpu Copper Products Oy (collectively the “moving defendants”) for Leave to File Reply
Briefs in Support of Their Motions to Dismiss the Consolidated Amended Class Action
Cornplaint, and finding it to be Well taken,
IT IS HEREBY ORDERED that the moving defendants shall be allowed to tile reply
briefs in support of their Motions to Dismiss the Consolidated Arnended Class Action Complaint

on or before Friday, August 19, 2005.

Entered this [/J" day of%gd; ,.2005

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\,vim Rule 53 and/or 79(a) FROP on _=£E=&Q_ ’,_O 2 7 /%1

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 143 in
case 2:04-CV-0277l Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
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